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AO 8&8A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action 2 Lal 5 624 Y

UNITED STATES DISTRICT COURT

for the

Eastern District of Texas

The State of Texas, et al.
Plaintiff

v. Civil Action No, 4:20-cv-957-SDJ

Google LLC

Defendant

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SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To: The Texas General Land Office
c/o General Counsel, 1700 North Congress Avenue, Austin, Texas 78701

(Name of person to whom this subpoena is directed)

of Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters: As described in the attached Exhibit A

Place: Austin Marriott Downtown | Date and Time:

304 E Cesar Chavez Street, Austin, TX 78701 04/03/2024 9:30 a.m. CST

The deposition will be recorded by this method: | Stenographer and videographer

O Production: You, or your representatives, must also bring with you to the deposition the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 03/21/2024

CLERK OF COURT
OR
Signature of Clerk or Deputy Clerk Attofnep’s signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Google LLC

, who issues or requests this subpoena, are:
R. Paul Yetter, 811 Main Street, Suite 4100, Houston, Texas 77002; pyetter@yettercoleman.com; (713) 632-8000

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 4:20-cv-957-SDJ

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

T received this subpoena for (name of individual and title, if any)
on (date)

CJ I served the subpoena by delivering a copy to the named individual as follows:

on (date) ; or

C T returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc.:
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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer: or
(ii) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorncy
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative, In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than onc form.

(D) /naccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifics as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting parly shows good cause, considering the limitations of Rule
26(b)(2)(C), The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) /nformation Produced. \f information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed, R. Civ. P. 45(a) Committee Note (2013).
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EXHIBIT A TO SUBPOENA

DEFINITIONS

1. This document incorporates by reference all definitions in Google’s April 19, 2023
subpoena to You (the “Document Subpoena”), except that “Action” refers to the lawsuit captioned
The State of Texas et al. v. Google LLC, 4:20-cv-00957-SDJ, formerly consolidated in the
multidistrict litigation, Jn re: Google Digital Advertising Antitrust Litigation, 21-md-3010

(S.D.N.Y,).

2. To the extent the terms defined below or in the Document Subpoena are used in the
Topics set forth below, they should be construed broadly to the fullest extent of their meaning in
a good-faith effort to comply with the Federal Rules and the Local Rules. These Definitions are

provided solely for the purposes of this Subpoena and the Document Subpoena.

TOPICS
L. Your collection and production of documents and data in response to Google’s
Document Subpoena.
2. The authenticity of all documents and data You produced in this Action and/or in

related litigation and government or regulatory investigations, including, but not limited to, in

response to the Document Subpoena.

3. Whether or not you are represented by Your State’s Office of Attorney General in

this Action.
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4. Your use of Display Advertising, Ad Tech Products, and Ad Tech Providers,
including whether You use advertising Agencies or other intermediaries to facilitate Your use of

Display Advertising or Ad Tech.

5. The identities of all persons in Your organization who are responsible for the
selection of Ad Tech Products and Ad Tech Providers, the purchase of Display Advertising, the

amount spent on Display Advertising, and how that amount is spent.

6. Your advertising budget, including where and how You spend Your advertising
budget, how much You spend on Display Advertising, how you evaluate the effectiveness of Your
spending on Display Advertising, how and why you adjust spending on Display Advertising as a
whole or on particular types of Display Advertising and who is responsible for making such

decisions.

7. Your actual or considered switching from one Ad Tech Product or Ad Tech
Provider to another Ad Tech Product or Ad Tech Provider, including Your reasons for switching,
the costs of switching, and the impact of switching on the effectiveness of Your advertising

Campaigns.

8. How You measure the effectiveness of Your Campaigns, including any tools You

use for the tracking, measurement, and assessment of Your Display Advertising purchases.

9. How You consider and decide what form of Display Advertising to purchase,

including the role of advertising Agencies in such decisions.

10. How You consider and decide which Ad Tech Products or Ad Tech Providers to

use, including Your consideration, evaluation, or comparison of Ad Tech Products or Ad Tech
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Providers and their Features, effectiveness, interoperability, and pricing, and the role of advertising

Agencies in such decisions.

ll. Your contracts or agreements with each advertising Agency or other intermediary
You have used for the purchase of Display Advertising or use of Ad Tech, including the services

each Agency provides and how each Agency is compensated for its services.

12. Fees paid by You for Ad Tech or Display Advertising, including to whom those
Fees were paid, whether You contend You overpaid for any Ad Tech or Display Advertising, and

any amounts You overpaid.

13. Your understanding, and the basis for Your understanding, of auction mechanics
and any other factors that influence Your Bidding strategies (such as whether the auction is first-
or second-priced, expected Floor Price, manual or automated Bid optimization strategies, and
available post-auction report information) and the effect of Your Bidding strategies on Your return

on investment or return on advertising spend.

14. Whether You contend that Google made misrepresentations or omissions to You,
the specific omissions or misrepresentations You contend Google made, and how those
misrepresentations or omissions (if any) impacted any decision You made regarding Your
purchase of Display Advertising, use of Ad Tech, or selection of Ad Tech Product or Ad Tech

Provider.

15. Your communications with any federal or state law enforcement or regulatory
agency, attorney general’s office, or private litigant concerning Google’s Display Advertising or

Ad Tech.
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16. | Non-privileged communications between You and Your Office of Attorney
General regarding Display Advertising, Ad Tech Products, Google, this Action, or the

Investigation.
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Texas easy-serve, LLC Amegy Bank 24946

1201 Louisiana, Suite 370 Houston TX 77227

Houston, TX 77002 35-1125-1130

Pay to the order of: Bearer Date: 3/21/2024

Forty Two Dollars and No Cents $42.00 DOLLARS
For: 320648.1 Loypank’ bur/hleon—
mega WhedO bd CSA m5?9U582546 4

If you are depositing through a smart phone please endorse here:

This check constitutes a negotiable instrument pursuant to Texas Business and Commerce Code Section 3.104.
It is valid for presentation to your bank or other financial institution, and is suitable for electronic deposit through
the smart phone application, if available, from any financial institution. If you prefer a traditional check, please
contact easy-serve at info@easy-serve.com, or 713 655 7239.
